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     April 30, 2024

     VIA CM/ECF

     Hon. John Milton Younge
     Courtroom 15-B
     15613 U.S. Courthouse
     601 Market Street
     Philadelphia, PA 19106

     Re:    Hasson et al. v. Comcast Cable Communications, No. 23-cv-5039 (All Actions),
            Unopposed Request to Appear Remotely at May 14, 2024 Initial Conference

     Dear Judge Younge,

     I represent plainti s Jaclyn Remark and Noah Birkett in the above-captioned consolidated
     litigation. On April 10, 2024, in accordance with the Court’s consolidation order, I led an
     application for appointment to plainti s’ executive committee. ECF 24. This Court subsequently
     set a hearing for May 14, 2024 at 10:00 a.m. to discuss, inter alia, the organization of counsel,
     including the previously led motions to appoint counsel. ECF 46.

     Unfortunately, I will be out of the country from May 7-15, 2024 for a pre-planned vacation and
     am unable to attend the the initial conference in-person in Philadelphia. In light of this scheduling
     con ict, I respectfully request the Court’s permission to appear by video or telephone at the May
     14 initial conference, at the Court’s preference. If granted, I would be happy to coordinate
     logistical details with your courtroom deputy.

     I contacted counsel for all parties who led leadership motions, as well as counsel for defendants,
     and no party opposes this request. I very much appreciate the Court’s attention to this matter.

     Respectfully submitted,

     /s/ Amber L. Schubert

     Amber L. Schubert
     SCHUBERT JONCKHEER & KOLBE LLP


     cc: All Counsel (via ECF)


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